                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION


 SOUTH CAROLINA STATE CONFERENCE                            C/A No.: 3:22-cv-01007-MGL
 OF THE NAACP,

                     Plaintiff,

 v.
                                                         MOTION TO STAY DISCOVERY
 TONNYA K. KOHN, in her official capacity as
 South Carolina State Court Administrator;

 DONALD W. BEATTY, in his official capacity
 as Chief Justice of the South Carolina Supreme
 Court,

                     Defendants.



       The Defendants, by and through their undersigned counsel, hereby move for an Order,

pursuant to Local Civ. Rule 16.00(C) (D.S.C.), Rule 26, Fed. R. Civ. P., and/or this Court’s

inherent authority, staying discovery and all scheduling order deadlines pending a decision on the

Motion to Dismiss, ECF No. 12, filed by Defendants. The undersigned affirms that he has

discussed this matter with counsel for Plaintiff, who does not consent to discovery being stayed.

However, in the event the Court were inclined to grant the requested stay, Plaintiff would consent

to a stay of the scheduling order deadlines.

                                          DISCUSSION

       The Defendants have filed a Motion to Dismiss, ECF No. 12, which raises a number of

threshold legal issues, including—most importantly for purposes of this motion—the propriety of

federal court intervention that may contravene the principles equity, comity, and federalism, and




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concerns as to whether the Complaint states a claim upon which relief can be granted. The Motion

to Dismiss has been fully briefed and all that remains is for a decision to be issued.

       Defendants respectfully submit that discovery, along with all scheduling order deadlines,

should be stayed pending a resolution of the Motion to Dismiss. Staying discovery will conserve

judicial resources, both state and federal, and will prevent the parties from spending a significant

amount of time on discovery that may not ultimately be necessary or appropriate. Moreover, the

concerns raised in the Motion to Dismiss concerning abstention would be irretrievably diminished

if discovery were allowed to proceed prior to a decision on the motion.1

       As has long been recognized, this Court has inherent authority to stay proceedings in order to

preserve its own resources and those of counsel and litigants. See Landis v. N. Am. Co., 299 U.S. 248,

254 (1936) (“[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.”). In this vein, courts have routinely found that discovery may be

inappropriate while the issue of immunity or other jurisdictional or pleading-based questions are

being resolved. See, e.g., Siegert v. Gilley, 500 U.S. 226, 231-32 (1991) (noting that immunity is

a threshold issue and discovery should not be allowed while the issue is pending); Gilbert v. Ferry,

401 F.3d 411, 415-16 (6th Cir. 2005) (finding stay permissible pending ruling on dispositive




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  Defendants did not initially move to stay discovery when they filed the Motion to Dismiss
because they believed that a good faith attempt to determine whether some minimal initial
discovery was feasible might yield an agreement as to the matter between the parties. This was
communicated to the Plaintiff and the Court. See Discovery Plan, ECF No. 23-1, p. 1. However,
the resulting discovery sought by Plaintiff did not fall within a range that Defendants could easily
accommodate without a substantial expenditure of resources. In fact, the discovery sought by
Plaintiff would require Defendants to divert an employee from ongoing projects and dedicate that
employee to locating and gathering the requested information or, more likely, to hire an outside
consultant to perform the work. This would be a significant disruption to the operations of the
Judicial Branch.

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motion involving jurisdictional issue); Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987) (“A

trial court has broad discretion and inherent power to stay discovery until preliminary questions

that may dispose of the case are determined.”); Eleazu v. Dir. U.S. Army Network Enter. Ctr.,

Natick, 3:20-2576-JMC-SVH, 2020 WL 6875538, at *7 (D.S.C. Nov. 23, 2020) (recommending

that motion to stay discovery, pursuant to Local Civ. Rule 16.00(C) and Rule 26(c), Fed. R. Civ.

P., be granted where “a dispositive motion may resolve all claims against a defendant and render

discovery unnecessary”) (report and recommendation adopted by Eleazu v. Dir. U.S. Army

Network Enter. Ctr., Natick, 3:20-CV-02576-JMC, 2021 WL 4272596 (D.S.C. Sept. 21, 2021));

Boudreaux Grp., Inc. v. Clark Nexsen, Owen, Barbieri, Gibson, P.C., 8:18-CV-1498-TMC, 2018

WL 9785308, at *6 (D.S.C. Nov. 20, 2018) (granting a motion to stay and reasoning that a “stay

would conserve the resources of both the parties and the court pending a resolution on the pending

motions.”).

       Although the doctrine of qualified immunity is not applicable in this case, the reasoning

employed by courts in directing that immunity for governmental officials should be decided at the

earliest possible stage of the litigation is persuasive in this context. One purpose of the doctrine of

qualified immunity is to protect government officials from “harassment, distraction, and liability

when they perform their duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009).

Qualified immunity is thus “an immunity from suit rather than a mere defense to liability.” Id. In

other words, one of the main functions of qualified immunity is to ensure that “insubstantial claims

against government officials will be resolved prior to discovery.” Id. The court has therefore




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repeatedly “stressed the importance of resolving immunity questions at the earliest possible stage

in litigation.” Id.2

        This reasoning applies with equal force in the present case. Defendants have raised

substantial threshold legal issues that should warrant a decision prior to discovery proceeding. The

concerns underlying the doctrine of abstention as discussed in the Motion to Dismiss will be at

least partially trampled if discovery is allowed to proceed. In other words, the protection intended

by the doctrine of abstention will be lost if discovery is allowed to proceed.

                                          CONCLUSION

        For the reasons set forth above, Defendants respectfully request that discovery, as well as

the scheduling order deadlines, be stayed pursuant to Local Civ. Rule 16.00(C) (D.S.C.), Rule

26(c), Fed. R. Civ. P., and/or this Court’s inherent authority until such time as the Motion to

Dismiss has been ruled upon.


                                                      Respectfully submitted,


                                                      s/ Steven R. Spreeuwers
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                                              Counsel for Defendants

November 4, 2022



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  Defendants do not suggest that the issues raised in the Complaint are insubstantial, just that
they cannot succeed for the reasons discussed in the Motion to Dismiss.

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